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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:05CR163
                vs.                               )
                                                  )                     ORDER
CLEO JO WALKER,                                   )
                                                  )
                         Defendant.               )

        Defendant Cleo Jo Walker (Walker) appeared before the court on August 26, 2011, on the
Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 302). Walker was
represented by Assistant Federal Public Defender Karen M. Shanahan and the United States was
represented by Assistant U.S. Attorney Thomas J. Kangior. Through her counsel, Walker waived her right
to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition
alleges probable cause and that Walker should be held to answer for a final dispositional hearing before
Judge Laurie Smith Camp.
        The government moved for detention. Through counsel, Walker declined to present any evidence
or request a hearing on the issue of detention. Since it is Walker’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that she is neither a flight risk nor a danger to the community,
the court finds Walker has failed to carry her burden and that Walker should be detained pending a
dispositional hearing before Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Laurie Smith Camp in Courtroom
No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 1:00
p.m. on September 12, 2011. Defendant must be present in person.
        2.      Defendant Cleo Jo Walker is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 26th day of August, 2011.

                                                           BY THE COURT:

                                                           s/Thomas D. Thalken
                                                           United States Magistrate Judge
